Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 1 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 2 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 3 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 4 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 5 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 6 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 7 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 8 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 9 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 10 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 11 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 12 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 13 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 14 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 15 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 16 of 17
Case 08-10015-DWH   Doc 23    Filed 03/10/08 Entered 03/10/08 15:49:07   Desc Main
                             Document     Page 17 of 17
